                                     IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
    Plaintiff D. Lane Baucom, Jr.                                        Case Number:
                                                                                            3:17-CV-242-MOC
    Address 4715 Baucom Helms Drive
                Indian Trail, NC 28079

                                                                                                  EXECUTION

                               VERSUS                                           (Rule 69, F.R.Cv.P. and G.1-313(1); GS.1C, Art. 16)


    Defendant DoALL Company                                              Defendant DoALL Company
    Address 4705 Entrance Drive                                          Address   1480 S. Wolf Road
                 Charlotte, NC 28273                                                 Wheeling, Illinois 60090


    TO THE UNITED STATES MARSHAL:
    By the terms of a judgment rendered in favor of   D. Lane Baucom, Jr.

    against ,   DoALL Company                                                           the following sums are now due:

    Principal                      Interest to date        Court Costs              Other                 Total:
    $ 258,444.01                      50,953.89            $ 502.98                                           $ 309,900.88

        For the United States Marshal's fees (see 28 U.S.C. § 1921) - $                                              . Post-Judgment
 interest is computed on the principal at the legal rate from the date shown below:

 Date from which interest due:                            Legal rate of interest:                   Date Judgment entered on docket:
                3/14/2019                                           2.534                                         3/13/2019
You are commanded to satisfy the judgment

✔
Q         By demanding payment from the debtor.

Q         Out of the personal property of the debtor, and if sufficient property cannot be found, then out of the real property belonging
          to the debtor on the day the judgment was entered on the docket of this Court as shown above or any time after that date.

Q         Except as to property set off as exempt (a list of which attached) out of the personal property of the debtor within your
          district, and if sufficient personal property cannot be found, then out of real property belonging to the debtor on the day the
          judgment was docketed in this court as shown above or any time after that date.

Q           Out of the property listed below which is excepted by law from the exemptions:




                                                                                                    10/28/2019




                   Case 3:17-cv-00242-MOC-DSC Document 104 Filed 10/28/19 Page 1 of 2

           WDNC-Sept09               This writ must be returned within 90 days after the date of issue.
                                                         RETURN OF EXECUTION

    This Writ Of Execution was served as follows:

          by collecting the amount owed.

          by levying on and selling the property of the defendant described below and returning to the court the balance shown
          below.
Date Of Levy                       Description Of Property Levied On And Sold




Total Sum Collected                Amount Retained As Commission      Amount Retained For Expenses       Balance Returned

$                                   $                                 $                                  $

    I did not serve this Writ Of Execution because:

          I did not locate property on which to levy.

          Other: (specify)




Service Fee Paid                   Date Received                     Name of U.S. Marshal

$
Paid By                            Date Executed                     County


                                   Date Of Return                    U.S. Deputy Marshal Making Return




                   Case 3:17-cv-00242-MOC-DSC Document 104 Filed 10/28/19 Page 2 of 2
